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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
 v.                                           :              No. 23-cr-160-RC
                                              :
DANIEL BALL,                                  :
                                              :
                       Defendant.             :

                         NOTICE OF FILING IN OTHER DISTRICT

       The United States, by and through its attorney the United States Attorney for the District

of Columbia, respectfully provides notice to this Court of a December 17, 2024, “Motion for

Arraingment [sic] In Absentia and to Compel Discovery” filed in United States v. Daniel Ball,

5:24-cr-00097-TPB-PRL (M.D. Fla.), ECF No. 8.

       The motion seeks a remedy based, in part, on claims of government misconduct in this

case, while insinuating that this Court has found merit in his unsupported—even unbriefed and

unargued—allegations. To support his motion in Florida, the defendant argued, “following

arguments on the sincere concerns about the government’s unconstitutional and unethical conduct

. . . the D.C. District Court vacated all dates and asked for a comprehensive briefing setting forth

all instances of government misconduct in Mr. Ball’s case.” Id. p. 2 n. 1. The government has

attached the filed motion to this notice.
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                               Respectfully submitted,

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